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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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SAUL SABINO,
                                                              20-CV-5861 (EK) (JRC)
                                   Plaintiff,
                                                              NOTICE OF MOTION
        -against-

JAMES OGLE, et al.,

                                    Defendants.
-----------------------------------------------------X


        PLEASE TAKE NOTICE that defendant JAMES OGLE (“Defendant”), by their

attorney, LETITIA JAMES, Attorney General of the State of New York, upon the annexed

Memorandum of Law, will move this Court before the Honorable Eric R. Komitee, United States

District Court Judge for the Southern District of New York, at the United States Courthouse located

at 225 Cadman Plaza East, Brooklyn, New York, 11201, at a date and time to be determined by

the Court, for an order pursuant to Rule 12(b) (1) and (6) of the Federal Rules of Civil Procedure

dismissing the Amended Complaint on the grounds that: (i) Plaintiff does not sufficiently allege

the personal involvement of Defendant James Ogle; (ii) The Eleventh Amendment bars official

capacity damages claims; (iii) Plaintiff’s allegations fail to state a claim; and (iv) Defendant Ogle

is entitled to qualified immunity.
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Dated: New York, New York
       August 10, 2022
                                            Respectfully submitted,

                                            LETITIA JAMES
                                            Attorney General of the
                                            State of New York
                                            Attorneys for Defendant
                                            By:

                                            __/s/ Andrew Blancato__________
                                            Andrew Blancato
                                            Assistant Attorney General
                                            28 Liberty Street
                                            New York, New York 10005
                                            (212) 416- 8659
                                            Andrew.Blancato@ag.ny.gov

TO:
      Saul Sabino
      # 3492101344
      Anna M. Kross Center
      18-18 Hazen Street
      East Elmhurst, NY 11370
      347-496-9524
      PRO SE

      Mostafa Khairy
      New York City Law Department
      Special Federal Litigation Division
      100 Church Street, Room 3-215
      New York, NY 10007
      212-356-2105
      mkhairy@law.nyc.gov
